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IN THE UNITED STATES DISTRICT COURT JUL 74 2020
FOR THE WESTERN DISTRICT OF PENNSYLVANIA | :

 

CLERK U.S. DISTRICT COURT
WEST. DIST, OF PENNSYLVANIA

UNITED STATES OF AMERICA oy a |
) Criminal No. i -| oY
v. ) (26 U.S.C. §§ 5861(d).and 5861(f), and 18
| )  . US.C. § 922(¢)(3))
KURT COFANO )
INDICTMENT
COUNT ONE
The grand jury charges:

On or about July 9, 2020, in the Western District of Pennsylvania, the defendant,
KURT COFANO, did knowingly and unlawfully possess a firearm, as defined in 26 U.S.C. |
§§ 5845(a)(3) and (a)(8), which was not registered to him in the National Firearms Registration.
and Transfer Record, specifically, a) a rifle having a barrel of less than 16 inches in length and b)
a destructive device as defined in 26 U.S.C. § 5 845(f)(3); to wit, each of the following firearms
seized from his vehicle: | |

I. A combination of parts designed and intended for use in converting any

’ device into a destructive device as defined in Title 26, United States Code,

Section 5845(f)(1), and from which a destructive device may be readily
assembled;

2. An Anderson Manufacturing rifle, model AM- 15, multi-caliber, bearing ~
serial number 16129976; and,

3. An Anderson Manufacturing rifle, model AM-15, multi-caliber, bearing
serial number 16129980.

In violation of Title 26, United States Code, Section 5861(d).
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COUNT TWO

The grand jury further charges: ©

“On or about July 9, 2020, in the Western District of Pennsylvania, the defendant,

KURT COFANO, knowing he was an unlawful user of a controlled substance, knowingly

possessed, in and affecting interstate commerce, a firearm; to wit, each of the following firearms

seized from his vehicle:

1,

10.
11.

12.

An Anderson Manufacturing rifle, model AM-15, multi-caliber, bearing
serial number 16129976;

An Anderson Manufacturing rifle, model AM-15, multi-caliber, bearing
serial number 16129980;

A Kalashnikov USA Komrad shotgun, model KS-12, 12 gauge caliber,
bearing serial number KSG006828;

A Ruger rifle, model 10-22, .22 LR caliber, bearing serial number 0002-
04715 | with silencer and light;

An FNH USA rifle, model M2498 semi-automatic, 5.56 mm caliber,
bearing serial number M249SA00592 M:

A Romarm rifle, model Draco, 7.62X39 mm caliber, bearing serial number
DA-4915-15 RO;

An Anderson Manufacturing rifle, model AM-15, multi caliber, bearing
serial number 16084682, with STZ-HVOC launcher;

A CZ rifle, model Scorpion EVO 381, 9 mm caliber, bearing serial number
C010974;

A Zastava ‘Arms USA rifle, model ZPAPM70, 7.62 x 39 mm caliber,
bearing serial number Z70-067091;

A Glock pistol, model 23, .40 caliber, bearing serial number XKE-467;

A Smith and Wesson pistol, model M&P 9, 9 mm caliber, bearing serial
number HMU9835; and, )

A Taurus pistol, model TX, .22 caliber, bearing serial number 1PT009666.

In violation of Title 18, United States Code, Section 922(g)(3).
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COUNT THREE

The grand jury further charges: |

On or about July 9 and July 10, 2020, in the Western District of Pennsylvania, the
defendant, KURT COFANO, did knowingly and unlawfully possess a firearm, as defined in 26,
U.S.C. § 5845 (a)(8), which was not registered to him in the. National Firearms Registration and
Transfer Record, specifically, a destructive device as defined in 26 U.S.C. §§ 5845(f)(1) and
(f)\(3); to wit, each of the following items seized from his residence:

1. Fourteen (14) improvised grenades;

2. Nine (9) destructive devices labeled “M101” with fragments; and,

» 3. A combination of parts designed and intended for use in converting any
device into a destructive device as defined in Title 26, United States Code,
Section 5845(f)(1), and from which a destructive device may be readily
assembled.

In violation of Title 26, United States Code, Section 5861(d).
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COUNT FOUR

‘The grand jury further charges:

From in and around May 2020 through in an around July 2020, in the Western
District of Pennsylvania, the defendant, KURT COFANO, knowingly and unlawfully and without
registering and obtaining approval as required in Title 26, United States Code, Section 5822, made
a firearm, as defined in Title 26, United States Code, Section 5845(a)(8), specifically, a destructive
device as defined in 26 U.S.C. §§ 5845(f)(1) and (£)(3); to wit, each of the following items seized
from his residence: . )

1. Fourteen (14) improvised grenades;

2. Nine (9) destructive devices labeled “M101” with fragments; and,

3. A combination of parts designed and intended for use in. converting any device

into a destructive device as defined in Title 26, United States Code, Section

5845(f)(1), and from which a destructive device may be readily assembled.

In violation of Title 26, United States Code, Section 5861(f).
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COUNT FIVE
The grand jury further charges:
On or about July 9 and July 10, 2020, in the Western District of Pennsylvania, the
defendant, KURT COFANO, knowing he was an unlawful user of a controlled substance,
knowingly possessed, in and affecting interstate commerce, a firearm; to wit, each of the following

firearms seized from his residence:

1. A Remington rifle, model 700 Varmint-Target:’ Rifle (VTR), 308
- Winchester caliber, bearing serial number G6787100;

. 2. A Remington shotgun, model 870, 12 gauge caliber, bearing serial number
AB968947M;
3. A Glock pistol, model 19, 9 millimeter caliber, bearing serial number
BKZS839;

4. Ruger pistol, model LCP, .380 caliber, bearing serial number 3718893 65;

5. Anderson, Lower Receiver, Model AM-15, multi-caliber, bearing serial

number 16129982;

6. Anderson, Lower Receiver, Model AM-15, multi-caliber, bearing serial
number 16084681; and,

7. . Anderson, Lower Receiver, Model AM-15, multi-caliber, bearing. serial

number 16084683.

Tn violation of Title 18, United States Code, Section 922(g)(3).
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FORFEITURE ALLEGATIONS
The Grand Jury re-alleges and incorporates by reference the allegations contained
in Counts One through Five of this Indictment for the purpose of alleging criminal forfeiture

pursuant to Title 18, United States Code, Section 924(d); Title 26, United States Code, Section

5872; Title 49, United States Code, Section 80303; and Title 28, United States Code, Section .

2461(c). As part of the commission of the violations of Title 26, United States Code, Sections

5861(d) and 5861(f) and Title 18, United States Code, Section 922(g)(3), charged in Counts One _

through Five of this Indictment, the items listed in those counts, which were involved and used in

the knowing commission of those offenses, are subject to forfeiture.

 

 

SCOTT W. BRADY”
United States Attorney
PA ID No. 88352
